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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )       ORDER CANCELLING
               Plaintiff,                      )       DETENTION HEARING
                                               )
       vs.                                     )
                                               )
Tina May Ganley,                               )
                                               )       Case No. 4:15-cr-069
               Defendant.                      )


       The court set a detention hearing for defendant Tina May Ganley for April 8, 2015. On April

7, 2015, the parties contacted the court and advised that they had come to an agreement to release

defendant subject to conditions. The court held a telephone conference to discuss the agreement.

Attorney Ashley A. Flagstad appeared on defendant’s behalf. AUSA David D. Hagler appeared on

the government’s behalf. Probation Officer Bobby Wiseman also participated in the call.

       During the conference call, the parties agreed that defendant should be released subject to

a number of conditions, including the condition that she reside at a residential facility. The parties

recognized that space at a residential facility is not immediately available and further agreed that

defendant will remain in custody until space becomes available. Because the parties and the

probation offer agreed the proposed release conditions were appropriate, the court determined it was

not necessary to convene the detention hearing. Accordingly, the detention hearing set for April 8,

2015 at 10:00 AM in CANCELLED. The court will issue an order for temporary detention. When

space is available at a residential facility, the court will issue an releasing defendant subject to the

agreed upon conditions.

       IT IS SO ORDERED.

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Dated this 7th day of April, 2015.

                                     /s/ Charles S. Miller, Jr.
                                     Charles S. Miller, Jr., Magistrate Judge
                                     United States District Court




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